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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                    at Greenbelt

IN RE:

ZACHAIR, LTD.,                                            Case No. 20-10691-LSS

       Debtor.                                            (Chapter 11)


LAWRENCE A. KATZ, Plan Administrator,

       Plaintiff
                                                          Adversary Proceeding 23-00014
v.
                                                          Jury Trial Demanded
NABIL J. ASTERBADI

and

MAUREEN ASTERBADI

              Defendants.




             ORDER GRANTING MOTION FOR SUMMARY JUDGMENT
              AS TO COUNT II IN FAVOR OF MAUREEN ASTERBADI

       Upon consideration of Defendant Maureen Asterbadi’s Motion for Summary Judgment as

to Count II, any opposition thereto, Mrs. Asterbadi’s Reply, and all supporting documents and the
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record as a whole, it is, by the United States Bankruptcy Court for the District of Maryland hereby

ORDERED, that:

           1. Defendant Maureen Asterbadi’s Motion is GRANTED; and it is further

           2. Count II of Plaintiff’s Complaint is DENIED WITH PREJUDICE AS TO MRS.

               ASTERBADI, AND THEREFORE DISMISSED AS TO HER.

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Office of the United States Trustee
6305 Ivy Lane, Suite 600
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                               END OF ORDER




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